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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

JBS HAIR, INC.,

             Plaintiff,
                                                   CIVIL ACTION
       v.
                                                   NO. 1:21-cv-01857-MLB
SUN TAIYANG CO., LTD.,
                                                 JURY TRIAL DEMANDED
             Defendant.


JBS HAIR, INC.,

             Plaintiff,
                                                   CIVIL ACTION
       v.
                                                   NO. 1:21-cv-01859-MLB
BEAUTY ELEMENTS, CORP.,
                                                 JURY TRIAL DEMANDED
             Defendant.



            JOINT MOTION TO MODIFY SCHEDULING ORDER

      Plaintiff JBS Hair, Inc. (“Plaintiff”) and Defendants Sun Taiyang Co., Ltd.

(“Sun Taiyang”) and Beauty Elements, Corp. (“Beauty Elements”) (collectively,

“Defendants”), jointly and by consent move the Court for entry of the proposed

scheduling order submitted herewith, which resets the deadlines for the close of

fact discovery, expert reports, expert discovery, summary judgment motions, and
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the pre-trial order, which were triggered by the Court’s claim construction order

dated May 3, 2024. The purpose of this joint motion is to adjust the deadlines in

these two cases to better coordinate with the similar deadlines in the related cases

pending in the District of New Jersey, and thereby to maximize the efficient use of

resources by the parties, counsel, and their expert witnesses, as well as to

accommodate the schedules of counsel for the Parties over the next few months

and allow sufficient time for the parties to complete fact discovery. A similar

order has already been entered in the New Jersey cases.

      As a result of the foregoing, and for good cause shown, the parties jointly

propose the following schedule for these cases moving forward:

           Event                    Current Date            Proposed New Date
Fact Discovery Period               June 17, 2024              August 19, 2024
Closes
Expert Reports Served on            July 17, 2024              October 1, 2024
Issues for which the
serving party bears the
burden of proof
Expert Reports Served on          August 16, 2024            November 13, 2024
Issues for which the
opposing party bears the
burden of proof
Expert Deposition Period         September 30, 2024          December 16, 2024
ends
Conference After                  October 10, 2024            January 16, 2025
Discovery (LR 16.3)
Summary Judgment                  October 30, 2024            February 21, 2025
Motion deadline

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Pre-Trial Conference               To be determined                No change
Trial                              To be determined                No change

        The parties note that the rebuttal expert disclosures provided in this Court’s

Patent Local Rules have been removed from the schedule to further coordinate

with the New Jersey court’s cases, since that court’s local patent rules do not

provide for such rebuttal expert reports.

        The Parties respectfully submit that good cause exists for this motion and for

entry of the proposed amended scheduling order, and that neither are intended to

inappropriately delay these cases.

        A proposed Order is submitted herewith.

        Respectfully submitted this 17th day of June 2024.

/s/Daniel A. Kent                               /s/Coby S. Nixon (w/permission)
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                                             Attorneys for Defendants
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                                             Beauty Elements Corp.




                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1D, counsel certifies that the foregoing was prepared

in Times New Roman, 14 point font, in compliance with Local Rule 5.1C.


                                    /s/Daniel A. Kent




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